 Case 3:20-cv-01277-JPG Document 32 Filed 05/12/21 Page 1 of 1 Page ID #115




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

JEREMY JOHNSON,

Plaintiff,

v.                                                     Case No. 20-cv-1277 JPG

TRANS UNION, LLC,

Defendant.


                                            JUDGMENT

           The Court having been advised by counsel for the parties that the above action has been

settled;

           IT IS HEREBY ORDERED AND ADJUDGED that this case is dismissed with prejudice

and without costs.


Dated: May 12, 2021                     MARGARET M. ROBERTIE, Clerk of Court

                                        s/Tina Gray, Deputy Clerk



Approved:         s/J. Phil Gilbert
                  J. PHIL GILBERT
                  DISTRICT JUDGE
